Case 1:18-cv-09158-NLH-KMW Document 4-1 Filed 09/13/18 Page 1 of 2 PagelD: 22

 

 

 

ann UNITED STATES DISTRICT COURT
ae DISTRICT OF NEW JERSEY
ALUMINUM SHAPES, LLC, ET AL Docket No. 1:18-CV-09158-NLH-KMW
DEFENDANT
Person to be Served
ALUMINUM SHAPES, L.L.C. AFFIDAVIT OF SERVICE
C/O REGISTERED AGENT ROBERT OTTERBEIN 9000 RIVER ROAD (For Use By Private Service)

DELAIR, NJ 08110

Papers Served: SUMMONS AND COMPLAINT, JURY DEMAND, PROOF OF SERVICE, CCS

Service Data:
Served Successfully _X_ Not Served Date: 05/24/2018 Time:_8:22 AM Attempts:

Delivered a copy to him/her personally Name of person served and relationship / title:
ALBERTO CASTRO

Left a copy with a competent household
member of over 14 years of age residing SECURITY GUARD

therein.

Left a copy with a person authorized to
accept service, e.g. managing agent,
registered agent, etc.

ra

Description of Person Accepting Service:
SEX: MALE COLOR: HISPANIC HAIR: BROWN APP.AGE: 50 APP. HT: 5/10 APP, WT: 180

OTHER:

Comments Or Remarks:

I, JOSEPH RUSSO, was at the time of service a
competent adult not having a direct interest in
the litigation. I declare under penalty of
perjury that j is true and correct.

Sworn to before me this f A }

79 day of MA 72018
¥ Signaturf of Process Server Date

  

   

Client File Number:

NJLS Process Service
2333 U.S. Hwy 22 West
Union, NJ 07083
908-686-7300

 
   

    

FRANCIS P MEYERS
Notary Public

State of New Jersey

vay Sommission Expires Jun 19, 2020

 
    
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AO 440 (Rev. 12/09} Summons in a Civil Action (Page 2)

Civil Action No. i

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and fitle, if any) A LU AMA Sf 4 CES l, Z. Lo

was received by me on (date) Dah 9 Z .

© I personally served the summons on the individual at (piace)

On (date) > Or

© I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

ow I served the summons on (name of individual) A. KtkID /. YsrKo Sez vAITY Lv Beh » who is
designated by law to accept service of process on behalf of (name of organization) A. BALIN SL

 

SHACES CLE on (date) Shae) x 5 or

1 I returned the summons unexecuted because 3 or

 

OC Other (specify):

My fees are $ fortraveland$ = for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

ome, S-2I-1F age ALeeoe

Server’s signature

Jascen ka a0, deptess SERVER

Printed name and title

 

1 Keysrone Aut Suite 800, Cueke cy Mes, Ml 0 foas

Server's address

Additional information regarding attempted service, etc:

  
  

   

y c
" State of Naw Jersey
¥ Commission Expires Jun 19, 2020

oe

 

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